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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

               Plaintiff,

       vs.                                                             No. 14-CR-3604-MV

FIRAS ABU ZUHRIEH, et al.,

               Defendants.



                            MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on Defendant Islam Kandil’s Motion to Sever

[Doc. 22] and Defendant Firas Abu Zuhrieh’s1 Motion for Disclosure of Identity of and

Information About Confidential Informant [Doc. 24]. The Court, having considered the

Motions, briefs, relevant law, and being otherwise fully-informed, finds that the Motions are not

well-taken and therefore will be DENIED.


                                        BACKGROUND

       This case centers on the purported sale of XLR-11, an alleged synthetic cannabinoid,

from the “Ace Smoke Shop and Hookah Lounge” in Albuquerque, New Mexico. Doc. 22 ¶ 2. 2

The establishment, owned by Defendant Abu Zuhrieh and staffed, in part, by Defendant Kandil,

evidently sold a product marketed as “‘Bizarro,’ which is referred to in the discovery as ‘spice.’”

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        In the Redacted Indictment [Doc. 11] and in various other filings, Defendant’s name is
typeset “Abuzuhrieh.” In his Motion, however, Defendant inserts a space between “Abu” and
“Zuhrieh.” Given the Defendant’s usage and the fact that “Abu” is the Arabic word for “father”
and is commonly employed in surnames, the Court will refer to the Defendant as “Abu Zuhrieh.”
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        The numeration of the paragraphs in Defendant Kandil’s brief is inaccurate; the Court’s
citations refer to the correct sequential order of the paragraphs.
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     Id. ¶ 3. Kandil adds that while he admits that he served customers in the ordinary course of the

     smoke shop’s business, which included the sale of “Bizarro,” he was unaware that the product

     was a controlled substance. Id. Defendant Kandil argues that trying the Defendants jointly

     would result in unfair prejudice to him, while Defendant Abu Zuhrieh urges that an effective

     defense requires disclosure of the identity of a government informant who was supposedly

     involved in the investigation. The Defendants have moved this Court accordingly.


                                                DISCUSSION
I.      Motion to Sever

            As an initial matter, the Court notes that Kandil concedes that he has been properly joined

     as a defendant with Abu Zuhrieh pursuant to Federal Rule of Criminal Procedure 8(b). See Doc.

     22 ¶ 4. See also Fed. R. Crim. P. 8(b). Consequently, the sole question before this Court is

     whether either Rule 14 or the Confrontation Clause counsels for severance of the two defendants.


            a. Federal Rule of Criminal Procedure 14

            Federal Rule of Criminal Procedure 14 permits the district courts to “order separate trials

     of counts, sever the defendants’ trials, or provide any other relief that justice requires” where

     joinder “appears to prejudice a defendant or the government.” Fed. R. Crim. P. 14(a). The

     Supreme Court has clarified that “when defendants properly have been joined under Rule 8(b), a

     district court should grant a severance under Rule 14 only if there is a serious risk that a joint

     trial would compromise a specific trial right of one of the defendants, or prevent the jury from

     making a reliable judgment about guilt or innocence.” Zafiro v. United States, 506 U.S. 534, 539

     (1993) (emphasis added). Stated differently, the “prejudice standard [in Rule 14] requires a

     showing of actual prejudice, not merely a showing that a defendant may have a better chance of

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acquittal in separate trials.” United States v. Caldwell, 560 F.3d 1202, 1213 (10th Cir. 2009)

(internal quotation marks omitted).

       Hence, “[t]he requisite showing of prejudice is not made by a complaint that one

defendant is less culpable than another, or by an allegation that a defendant would have a better

chance of acquittal in a separate trial, or by a complaint of the spill-over effect of damaging

evidence presented against a codefendant.” United States v. Morgan, 748 F.3d 1024, 1043 (10th

Cir. 2014) (internal quotation marks omitted). Further, the burden of demonstrating that

severance is appropriate is particularly heavy where, as here, the Defendant “must overcome the

presumption that in a conspiracy trial it is preferred that persons charged together be tried

together.” United States v. Jones, 530 F.3d 1292, 1302 (10th Cir. 2008) (internal quotation

marks omitted). Finally, the prejudice to the Defendant must ultimately be weighed against the

demands of judicial economy. See, e.g., United States v. Wardell, 591 F.3d 1279, 1299 (10th

Cir. 2009).

       Here, Kandil argues that he will be prejudiced by statements made by Abu Zuhrieh and

because “the evidence in the case is substantially greater regarding Firas Abuzuhrieh [sic], than

regarding Islam Kandil, who was a simple cash register and display case attendant.” Doc. 22 ¶ 6.

These concerns amount to nothing more than a complaint about the “spill-over” effects of

evidence admitted as to Abu Zuhrieh. Such frustrations, while understandable, are plainly

insufficient to justify two separate trials on roughly the same set of facts. Further, the Court is

confident that any risk of modest prejudice associated with evidence admitted against Abu

Zuhrieh, but not Kandil, can be substantially reduced by crafting an appropriate instruction for

the jury at trial. See, e.g., Richardson v. Marsh, 481 U.S. 200, 211 (1987) (noting that, as a


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general rule, “juries are presumed to follow their instructions.”). Defendant has offered virtually

nothing to demonstrate why he and his co-defendant should be tried separately and therefore

cannot overcome the strong presumption in favor of a joint trial; thus, the Court holds that Rule

14 does not counsel severance in this case.


       b. Bruton and the Confrontation Clause

       Kandil also contends that “the Due Process and Right of Confrontation clauses of the

Fifth and Sixth Amendments to the United States Constitution, allow and sometimes require the

severance of defendants for trial.” Doc. 22 ¶ 4. Specifically, Defendant argues that a statement

given by Defendant Abu Zuhrieh “regarding the supply of synthetic cannabinoids” will not be

“subject to cross-examination” by Kandil and therefore will “violate the guarantees of the Sixth

Amendment” as interpreted by the Supreme Court in Bruton and its progeny. Doc. 22 ¶ 4;

Bruton v. United States, 391 U.S. 123 (1968). That is, Kandil believes that he will be implicated

by the “admission of a nontestifying codefendant[]” and therefore will be placed in a constitional

dilemma with respect to statements introduced against him by a witness that he cannot cross-

examine because that witness, as a co-defendant, cannot be compelled to testify. See United

States v. Nash, 482 F.3d 1209, 1218 (10th Cir. 2007).

       There is no such issue in this case. The government in its Response has committed “not

[to] ask the testifying witness any questions related to statements from Defendant Abuzuhrieh

[sic] about Defendant Kandil” and, “[a]s an added prophylactic, the government will instruct the

witness not to volunteer” such information. Doc. 29 at 5. Redaction of this type is frequently

employed by Courts to avoid Bruton issues, particularly in cases such as this, where references to

the defendant in question can be inconspicuously avoided, thereby effectively eliminating the

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      risk of damaging jury speculation. See, e.g., United States v. Verduzco-Martinez, 186 F.3d 1208,

      1213 (10th Cir. 1998) (noting that the Supreme Court has “held that there was no Bruton

      violation where the non-testifying codefendant’s statement was redacted to remove all reference

      to the defendant and/or his existence and the jury was given a proper limiting instruction.”). See

      also United States v. Shaw, 758 F.3d 1187, 1195-96 (10th Cir. 2014) (discussing redaction with

      respect to Bruton and its progeny). Thus, as the government will not introduce or elicit evidence

      regarding the admissions that reference Kandil, the protections of the Confrontation Clause do

      not demand severance. Additionally, it is not at all clear to the Court that Abu Zuhrieh will elect

      not to testify at trial, which would, of course, resolve any potential Confrontation Clause issues

      by making the witness available for cross-examination.

             In aggregate, Defendant’s request for severance merely amounts to a general claim that

      he would likely fare better at an individual trial than he would if tried alongside Abu Zuhrieh.

      This may well be the case, but such de rigueur assertions do not constitute the species of

      prejudice that would militate for bifurcating the trial. See, e.g., Zafiro, 506 U.S. at 540

      (explaining that it is “well settled that defendants are not entitled to severance merely because

      they may have a better chance of acquittal in separate trials”). Consequently, the Court sees no

      basis for severance in the instant case.


II.      Motion for Disclosure of Identity

             It is now clear that the “government has a privilege ‘to withhold from disclosure the

      identity of persons who furnish information of violations of law to officers charged with

      enforcement of that law.’” United States v. Rivas, 26 F. Supp. 3d 1082, 1113 (D.N.M. 2014)

      (quoting Rovario v. United States, 353 U.S. 53, 59 (1957)). It is equally clear, however, that this

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“privilege is not absolute” and must yield to a defendant’s constitutional guarantee to a fair trial.

Rivas, 26 F. Supp. 3d at 1113. Even so, a “defendant seeking to force disclosure of an

informant’s identity has the burden to show the informant’s testimony is relevant or essential to

the fair determination of [the] defendant’s case” and the court “must balance the public interest

in protecting the flow of information against the individual’s right to prepare his defense.”

United States v. Gordon, 173 F.3d 761, 767 (10th Cir. 1999). As articulated by the Supreme

Court, this analysis requires consideration of “the crime charged, the possible defenses, the

possible significance of the informer’s testimony, and other relevant factors.” Rovario, 353 U.S.

at 62. See also United States v. Mendoza-Salgado, 964 F.2d 993, 1000 (10th Cir. 1992)

(reiterating the Rovario factors).

       The Tenth Circuit has since clarified that, “in general, [d]isclosure of an informant is not

required ... where the informant is not a participant in or a witness to the crime charged” and that

“disclosure is rarely necessary when, as here, the informant’s role was only as a tipster who

provided probable cause for a search.” United States v. Long, 774 F.3d 653, 663 (10th Cir.

2014) (internal quotation marks and citations omitted). So it is here. The government has

explained in its Response that “any informants that may have been used were neither participants

in nor witnesses to any crime committed by the Defendant” and that, “other than a passing

reference to an informant in the search warrant, there is no mention of any kind of informant in

the produced discovery.” Doc. 28 at 2-3.

       The Defense offers nothing to the contrary; indeed, he did not file any reply whatsoever

to the government’s Response. Even in his initial brief, moreover, Defendant’s allegations

remain self-consciously speculative, alleging only that his “[r]eview of the discovery provided to


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date, and the independent defense investigation, suggests that an informant was involved in the

investigation” and that “[i]f this perception is correct, [then] the informant was central in setting

up the investigation and was the actual source for the alleged controlled substances which form

the basis of this prosecution.” Doc. 24 at 2 (emphasis added). This interpretation evidently

misapprehends the facts; the government notes that the “controlled buy that serves as the basis

for the distribution charge against the Defendant was conducted by an undercover law

enforcement officer,” rather than an informant. Doc. 28 at 3. Further, even if an informant

provided some information to law enforcement officials that was then used to develop the

investigation, this is obviously not enough involvement by the confidential source to meet the

Defendant’s significant burden.

       While Defendant later argues that “[g]iven the totality of the circumstances suggested by

the discovery in this case, an informant almost certainly information [sic] available only to a

participant or instigator,” and that the “informant is likely an eyewitness who possess information

that bears directly on the defense of the instant case,” Defendant provides no factual basis for

this assertion. Doc. 24 at 8-9 (emphasis added). Moreover, there is no suggestion from the

Indictment or any other facts adduced here that anyone other than Abu Zuhrieh and Kandil was

involved in the alleged conspiracy or sale of “Bizarro.” Such a speculative connection between

an informant and the crimes at issue patently cannot supply the quantum of informant

involvement required to warrant disclosure of the source’s identity. See, e.g., United States v.

Leahy, 47 F.3d 396, 398 (10th Cir. 1995) (“A CI’s testimony must be shown to be valuable to a

defendant; mere speculation is not enough.”); United States v. Cruz, 680 F.3d 1261, 1263 (10th




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Cir. 2012) (“panels that uphold such denials generally find that the value of the informant to the

defense is ‘speculative’ or irrelevant.”).

       No government informant participated in or witnessed the crimes charged in the

Indictment; the involvement of any confidential source was, at most, ancillary to the offenses at

issue. That is, even if the Defendant is correct that the government’s “interest in Mr. Abu

Zuhrieh appears to have come from information provided by an informant,” the government is

not obligated to uncloak this source because he or she did not participate in or witness the

conduct on which the Defendant will be tried. Therefore, the Rovario analysis, as refined by the

Tenth Circuit, does not militate for the breach of privilege in the instant case. Of course, nothing

in the Court’s decision should be read to limit the prosecution’s continuing obligation under

Brady, Giglio, and their progeny.


                                             CONCLUSION

       Ultimately, the Court agrees with the government that both of the Motions must be

denied. Based on the facts before the Court, neither Defendant can meet his burden and

demonstrate that he is entitled to the relief requested.

       IT IS THEREFORE ORDERED that Defendant Islam Kandil’s Motion to Sever [Doc.

22] and Defendant Firas Abu Zuhrieh’s Motion for Disclosure of Identity of and Information

About Confidential Informant [Doc. 24] are DENIED.

Dated this 8th day of April, 2015.



                                                           MARTHA VÁZQUEZ
                                                           UNITED STATES DISTRICT JUDGE


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